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UNITED STATES DISTRICT COURT
MIDDLE DISTRCT OF FLORIDA

TAMPA DIVISION
ADEEB BERRY,
Plaintiff CASE NO.::
-VS-
SUNTRUST BANK,
Defendant
/

 

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, ADEEB BERRY (hereinafter ‘“Plaintiff’), by and
through the undersigned counsel, and sues Defendant, SUNTRUST BANK, (hereinafter
“Defendant”), and in support thereof respectfully alleges violations of the Telephone
Consumer Protection Act, 47 U.S.C. § 227 et seg. (‘TCPA”) and the Florida Consumer
Collection Practices Act, Fla. Stat. § 559.55 et seg. (““FCCPA”).

INTRODUCTION

1. The TCPA was enacted to prevent companies like SUNTRUST BANK
from invading American citizen’s privacy and prevent abusive “robo-calls.”

Ps “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the
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telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably
intended to give telephone subscribers another option: telling the autodialers to simply
stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242, 1256 (11" Cir. 2014).
4. According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless
Phones, Federal Communications Commission, (May 27, 2015),
http://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A | .pdf.

JURISDICTION AND VENUE

5, This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00) exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

ds Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of
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47 U.S.C. § 227(b)(1)(A)(iil). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11" Cir. 2014)

8. The alleged violations described herein occurred in Pinellas County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

9. Plaintiff is a natural person, and citizen of the State of Florida, residing in
the city of Palm Harbor located in Pinellas County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11"
Cir. 2014).

13, Defendant is a corporation and national association whith its principal
place of business located at 303 N.E. Peachtree Street, Atlanta Georgia 30308, and which
regularly conducts business in the State of Florida through its registered agent,
Corporation Service Company located at 1201 Hays Street, Tallahassee Florida 32301.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

13 Defendant is a “creditor” as defined in Florida Statute §559.55(5).
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16. Defendant attempted to collect an alleged debt from Plaintiff by this
campaign of telephone calls.

17. Upon receipt of the calls from Defendant, Plaintiff's caller ID identified
the calls were being initiated from, but not limited to, the following phone numbers:
(877) 654-9211, and when that number is called a pre-recorded voice identifies the
number as belonging to Suntrust Bank.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff's cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “‘autodialer calls”). Plaintiff will testify that he knew it was an
autodialer because of the vast number of calls he received and because he heard a pause
when he answered his phone before a voice came on the line and/or he received
prerecorded messages from Suntrust Bank.

19, Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (313) *** - 7777, and was the called party and recipient of Defendant’s calls.

20. Defendant placed an exorbitant number of calls to Plaintiff's cellular
telephone (313) *** - 7777 in an attempt to collect on a debt.

Di On several occasions over the last four (4) years Plaintiff instructed

Defendant’s agent(s) to stop calling his cellular telephone.
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22. In or about June of 2018, Plaintiff answered a calls from Defendant to his
aforementioned cellular telephone number, met with an extended pause, held the line and
was eventually connected to a live representative, and informed an agent/representative
of Defendant that he would make his payment soon, that the calls were harassing and
Plaintiff demanded Defendant’s agent/representative to stop calling his cellular telephone
number.

23. During the aforementioned call with Defendant’s agent/representative in
or about June of 2018, Plaintiff unequivocally revoked any express consent Defendant
may have had for placement of telephone calls to Plaintiff's aforementioned cellular
telephone number by the use of an automatic telephone dialing system or a pre-recorded
or artificial voice.

24. Each subsequent call the Defendant made to the Plaintiffs aforementioned
cellular telephone number was done so without the “express consent” of the Plaintiff.

25» Each subsequent call the Defendant made to the Plaintiff's aforementioned
cellular telephone number was knowing and willful.

26. Defendant called Plaintiff on Plaintiff's cellular telephone approximately
one-hundred (100) times in an attempt to collect a debt. Due to the volume of calls
Plaintiff received, he was not able to properly catalogue each and every call; however, it
is anticipated that discovery will reflect all of the automated calls Plaintiff received to his
cellular telephone from Defendant.

is Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times in the same hour, during one day, and on back to back
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days, including nights and weekends, with such frequency as can reasonably be expected
to harass.

28. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiff's
cellular telephone in this case.

20: Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff's cellular telephone in
this case, with no way for the consumer, Plaintiff, or Defendant, to remove the number.

30. Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they wish for
the calls to stop.

als Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

D2. Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

a Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

34. Defendant’s corporate policy provided no means for Plaintiff to have his
number removed from Defendant’s call list.

35. Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.
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36. Not a single call placed by Defendant to Plaintiff were placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

37. Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff,

38. From each and every call placed without consent by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of invasion of privacy and the intrusion
upon his right of seclusion.

39. From each and every call without express consent placed by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of occupation of his cellular telephone
line and cellular phone by unwelcome calls, making the phone unavailable for legitimate
callers or outgoing calls while the phone was ringing from Defendant’s calls.

40. From each and every call placed without express consent by Defendant to
Plaintiff's cell phone, Plaintiff suffered the injury of unnecessary expenditure of his time.
For calls he answered, the time he spent on the call was unnecessary as he repeatedly
asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to
unlock the phone and deal with missed call notifications and call logs that reflected the
unwanted calls. This also impaired the usefulness of these features of Plaintiff's cellular
phone, which are designed to inform the user of important missed communications.

41. Each and every call placed without express consent by Defendant to
Plaintiff's cell phone was an injury in the form of a nuisance and annoyance to Plaintiff.
For calls that were answered, Plaintiff had to go to the unnecessary trouble of answering

them. Even for unanswered calls, Plaintiff had to waste time to unlock the phone and deal
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with missed call notifications and call logs that reflected the unwanted calls. This also
impaired the usefulness of these features of Plaintiff's cellular phone, which are designed
to inform the user of important missed communications.

42. Each and every call placed without express consent by Defendant to
Plaintiff's cell phone resulted in the injury of unnecessary expenditure of Plaintiffs cell
phone’s battery power.

43. Each and every call placed without express consent by Defendant to
Plaintiff's cell phone where a voice message was left which occupied space in Plaintiff's
phone or network.

44, Each and every call placed without express consent by Defendant to
Plaintiffs cell phone resulted in the injury of a trespass to Plaintiff's chattel, namely his
cellular phone and his cellular phone services.

45. As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,
nervousness, embarrassment, and aggravation.

COUNT I
(Violation of the TCPA)

46. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
five (45) as if fully set forth herein.

47. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff

notified Defendant that he wished for the calls to stop.
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48. Defendant repeatedly placed non-emergency telephone calls to Plaintiff’ s
cellular telephone using an automatic telephone dialing system or prerecorded or artificial
voice without Plaintiffs prior express consent in violation of federal law, including 47
U.S.C § 227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against SUNTRUST BANK for statutory damages, punitive
damages, actual damages, treble damages, enjoinder from further violations of these parts
and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

49. Plaintiff fully incorporates and realleges paragraphs one (1) through forty-
five (45) as if fully set forth herein

50. At all times relevant to this action Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

S51. Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

52. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

53. Defendant’s actions have directly and proximately resulted in Plaintiff's
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
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triable and judgment against SUNTRUST BANK for statutory damages, punitive
damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

of these parts and any other such relief the court may deem just and proper.

    

Respectfully submitted,
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